The facts in this case are identical with those in the case ofWhite v. City of San Diego, (Civ. No. 915) ante, p. 501 [14 P.2d 1062], except the description of the property involved and the payments set forth in the option agreement upon which the action is based. The decision in the White case has this day been filed. The questions of law involved in the instant case are identical with those in the White case.
[1] Therefore, for the reasons given in the case of White
v. City of San Diego, supra, the judgment in this case is affirmed.
Barnard, P.J., and Marks, J., concurred.
A petition for a rehearing of this cause was denied by the District Court of Appeal on October 27, 1932, and an application by appellants to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on November 21, 1932.